Case 2:18-cv-07480-JAK-MRW Documen t366 Filed 10/06/21 Pagelof2 Page ID #:12772

Name and address:
Jason Jones, Esq.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Michael Lavigne, et al. CASE NUMBER:
2:18-cv-07480-JAK-MRW
vy. PLAINTIFF(S)
Herbalife, Ltd., et al. REQUEST FOR APPROVAL OF
SUBSTITUTION OR WITHDRAWAL
DEFENDANT(S) OF COUNSEL
INSTRUCTIONS

Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).

Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed “Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).

If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of

points and authorities.

SECTION I - WITHDRAWING ATTORNEY

Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Jason Jones CA Bar Number: PHV

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Firm or agency: Jason Jones, Attorney at Law

 

Address: 1147 Hunter Ave., Columbus, OH, 43201

 

 

 

 

 

 

Telephone Number: (312)237-0275 Fax Number: N/A

 

E-mail: jason@jonesatlaw.com _
Counsel of record for the following party or parties: Patricia Rodgers, Jennifer Ribalta and Izaar Valdez

 

 

 

 

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Other members of the same firm or agency also seeking to withdraw: N/A

 

 

 

 

 

 

 

 

 

 

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G-01 (06/13) REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF COUNSEL Page 1 of 2

 
Case 2:18-cv-07480-JAK-MRW Documen t366 Filed 10/06/21 Page 2of2 Page ID #:12773

SECTION II - NEW REPRESENTATION

(%] No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
to be represented by another attorney/firm who has already entered an appearance as counsel of record for that

party or parties in this case, and who is a member in good standing of the Bar of this Court.

[] The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
proceed pro se, as self-represented litigants.

[] The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
who is a member in good standing of the Bar of this Court:

Name: CA Bar Number:

Firm or agency:

 

 

Address:

 

 

 

Telephone Number: Fax Number:

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E-mail:

 

 

 

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SECTION III _- SIGNA

Withdrawing Att |
I am currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney. | have
given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be

allowed to withdraw from this case.

Date; 10/06/2021 Signature: /s/ Jason Jones, Esq.

 

Name: Jason Jones

 

New Attorney (if applicable)

I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. Iam a member in good standing of the Bar of this Court.

Date: Signature:

 

Name:

 

P. Att
I am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):

substitution of counsel as specified above.
[| representing myself pro se in this case.

Date: Lo/ le 20o2) Signature: , Ale :
Name: ORS aad bas R bal ter

Title:

 

 

 

 

 

G-01 (06/13) REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF COUNSEL Page 2 of 2
